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9
     Attorneys for Plaintiff Federal Trade Commission
10
                               UNITED STATES DISTRICT COURT
11
                            NORTHERN DISTRICT OF CALIFORNIA
12
                                        SAN JOSE DIVISION
13
14
     FEDERAL TRADE COMMISSION,                         Case No. 5:17-cv-00220-LHK-NMC
15                  Plaintiff
                                                       DECLARATION OF JENNIFER MILICI
16                                                     IN SUPPORT OF FEDERAL TRADE
17                 v.                                  COMMISSION’S MOTION FOR
                                                       PARTIAL SUMMARY JUDGMENT ON
18                                                     QUALCOMM’S STANDARD ESSENTIAL
     QUALCOMM INCORPORATED, a Delaware                 PATENT LICENSING COMMITMENTS
19
     Corporation,
20                 Defendant.
21
22                                                     Date:          October 18, 2018
23                                                     Time:          1:30 p.m.
                                                       Courtroom:     8, 4th Floor
24                                                     Judge:         Hon. Lucy H. Koh
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1    I, Jennifer Milici, do hereby declare and state as follows:
2           1.      I am an attorney employed by the U.S. Federal Trade Commission (“FTC”). I am
3    one of the attorneys of record in this matter for the FTC. I have personal knowledge of the
4    matters set forth in this declaration, and if called upon as a witness I could and would testify
5    competently.
6           2.      I respectfully submit this declaration in support of the FTC’s motion for partial
7    summary judgment on Qualcomm’s standard essential patent licensing commitments.
8           3.      Attached as Exhibit 1 is a true and correct copy of the TIA Intellectual Property
9    Rights Policy, dated October 21, 2016, available at https://www.tiaonline.org/wp-
10   content/uploads/2018/05/TIA_Intellectual_Property_Rights_Policy.pdf.
11          4.      Attached as Exhibit 2 is a true and correct copy of Q2017MDL1_00024028, the
12   Operating Procedures for ATIS Forums and Committees, dated March 1, 2015, which was
13   produced in this litigation by Qualcomm.
14          5.      Attached as Exhibit 3 is a true and correct copy of Q2017MDL1_00025790,
15   Guidelines to the Telecommunications Industry Intellectual Property Rights Policy, dated May 1,
16   2014, which was produced in this litigation by Qualcomm.
17          6.      Attached as Exhibit 4 is a true and correct copy of Q2017MDL1_03120703,
18   Qualcomm’s Response to Specification 4 of the FTC’s Civil Investigative Demand, dated
19   August 15, 2016, and designated Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
20          7.      Attached as Exhibit 5 is a true and correct copy of the 3GPP Working Procedures,
21   dated October 20, 2016, available at http://www.3gpp.org/ftp/Information/Working_Procedures/
22   3GPP_WP.pdf.
23          8.      Attached as Exhibit 6 is a true and correct copy of Q2017MDL1_03120611,
24   Exhibit 4 to Qualcomm’s Response to the FTC’s Civil Investigative Demand, dated July 20,
25   2016, and designated Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
26          9.      Attached as Exhibit 7 is a true and correct copy of excerpts from the deposition of
27   Keith Kressin, of Qualcomm, which took place on February 7-8, 2018, and was designated
28   Highly Confidential—Attorneys’ Eyes Only by Qualcomm.

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1           10.    Attached as Exhibit 8 is a true and correct copy of Q2017MDL1_03099915,
2    Qualcomm’s Response to KFTC Supplemental Request for Information 5-4-1, which was
3    produced in this litigation by Qualcomm and designated Highly Confidential—Attorneys’ Eyes
4    Only by Qualcomm.
5           11.    Attached as Exhibit 9 is a true and correct copy of Q2017MDL1_03099818,
6    Exhibit 1-2a to Qualcomm’s Response to KFTC Supplemental Request for Information 5-4-1,
7    which was produced in this litigation by Qualcomm and designated Highly Confidential—
8    Attorneys’ Eyes Only by Qualcomm.
9           12.    Attached as Exhibit 10 is a true and correct copy of excerpts from the deposition
10   of Derek Aberle, of Qualcomm, which took place on March 27-28, 2018, and was designated
11   Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
12          13.    Attached as Exhibit 11 is a true and correct copy of excerpts from the deposition
13   of Cristiano Amon, of Qualcomm, which took place on March 12-13, 2018, and was designated
14   Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
15          14.    Attached as Exhibit 12 is a true and correct copy of excerpts of
16   Q2017MDL1_03125483, Qualcomm’s Submission to the FTC on Device-Level Licensing, dated
17   December 2, 2016, which was designated Highly Confidential—Attorneys’ Eyes Only by
18   Qualcomm.
19          15.    Attached as Exhibit 13 is a true and correct copy of excerpts from the deposition
20   of Marvin Blecker, of Qualcomm, which took place on February 21-22, and 27, 2018, and was
21   designated Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
22          16.    Attached as Exhibit 14 is a true and correct copy of Qualcomm’s Responses and
23   Objections to the FTC’s Requests for Admission Nos. 135 through 139, dated April 10, 2018.
24          17.    Attached as Exhibit 15 is a true and correct copy of QNDCAL03530643, an email
25   from Marvin Blecker to Derek Aberle and others, dated June 6, 2012, which was designated
26   Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
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1           18.     Attached as Exhibit 16 is a true and correct copy of excerpts from the deposition
2    of Alex Rogers, of Qualcomm, which took place on February 22-23, 2018, and was designated
3    Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
4           19.     Attached as Exhibit 17 is a true and correct copy of excerpts of
5    Q2017MDL1_03120294, Qualcomm’s Response to Specifications 1(b), 6, 7, 15, 16, 17, and 18
6    of the FTC’s Civil Investigative Demand, dated June 30, 2016, and designated Highly
7    Confidential—Attorneys’ Eyes Only by Qualcomm.
8           20.     Attached as Exhibit 18 is a true and correct copy of excerpts of Qualcomm’s
9    Objections and Supplemental Responses to Apple’s Special Interrogatory Nos. 9, 12, 13 and 15,
10   dated March 10, 2018, designated Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
11          21.     Attached as Exhibit 19 is a true and correct copy of excerpts of
12   Q2017MDL1_02161040, an email chain among Marvin Blecker, Eric Reifschneider, and others,
13   with attachments, dated August 9, 2012, which was produced in this litigation by Qualcomm and
14   designated Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
15          22.     Attached as Exhibit 20 is a true and correct copy of the ATIS website page
16   located at http://www.atis.org/glossary/foreword.aspx, last visited August 30, 2018.
17          23.     Attached as Exhibit 21 is a true and correct copy of the 3GPP website page
18   located at http://www.3gpp.org/about-3gpp/partners, last visited August 30, 2018.
19          24.     Attached as Exhibit 22 is a true and correct copy of Q2017MDL1_00021503, the
20   Operating Procedures for ATIS Forums and Committees, dated January 3, 2006, which was
21   produced in this litigation by Qualcomm.
22          25.     Attached as Exhibit 23 is a true and correct copy of QNDCAL01669454, the
23   Guidelines for Implementations of ANSI Patent Policy, dated 1997, which was produced in this
24   litigation by Qualcomm.
25          26.     Attached as Exhibit 24 is a true and correct copy of Q2017MDL1_00009588, a
26   letter from Louis Lupin to ATIS, dated June 25, 1999, which was produced in this litigation by
27   Qualcomm and designated Confidential by Qualcomm.
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1           27.    Attached as Exhibit 25 is a true and correct copy of Q2017MDL1_00009586, a
2    letter from Thomas Rouse to ATIS, dated July 1, 2008, which was produced in this litigation by
3    Qualcomm and designated Confidential by Qualcomm.
4           28.    Attached as Exhibit 26 is a true and correct copy of Q2017MDL1_00009580, a
5    letter from Thomas Rouse to ATIS, dated July 1, 2008, which was produced in this litigation by
6    Qualcomm and designated Confidential by Qualcomm.
7           29.    Attached as Exhibit 27 is a true and correct copy of Q2017MDL1_00009582, a
8    letter from Thomas Rouse to ATIS, dated July 1, 2008, which was produced in this litigation by
9    Qualcomm and designated Confidential by Qualcomm.
10          30.    Attached as Exhibit 28 is a true and correct copy of Q2017MDL1_00009584, a
11   letter from Thomas Rouse to ATIS, dated July 1, 2008, which was produced in this litigation by
12   Qualcomm and designated Confidential by Qualcomm.
13          31.    Attached as Exhibit 29 is a true and correct copy of Q2017MDL2_00006366, a
14   letter from Thomas Rouse to ATIS, with enclosures, dated July 23, 2012, which was produced in
15   this litigation by Qualcomm and designated Confidential by Qualcomm.
16          32.    Attached as Exhibit 30 is a true and correct copy of Q2017MDL1_00025969, the
17   Guidelines to the Intellectual Property Rights Policy of the Telecommunications Industry
18   Association, dated March 2005, which was produced in this litigation by Qualcomm.
19          33.    Attached as Exhibit 31 is a true and correct copy of the 3GPP2 presentation titled
20   Third Generation Partnership Project 2 (3GPP2): Partnership Project Description, dated
21   September 1, 2002, available at http://www.3gpp2.org/Public_html/DefiningDocs/OP-
22   20020830-007A_PPD.pdf.
23          34.    Attached as Exhibit 32 is a true and correct copy of Q2017MDL1_0143111, TIA
24   Advisory Note #11 re TIA Intellectual Property Rights Policy, dated May 18, 1993, which was
25   produced in this litigation by Qualcomm and designated Highly Confidential—Attorneys’ Eyes
26   Only by Qualcomm.
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1           35.    Attached as Exhibit 33 is a true and correct copy of Q2017MDL1_00014883, a
2    submission from Steven Altman to TIA, dated May 16, 1995, which was produced in this
3    litigation by Qualcomm and designated Confidential by Qualcomm.
4           36.    Attached as Exhibit 34 is a true and correct copy of Q2017MDL1_00014885, a
5    submission from Steven Altman to TIA, dated May 16, 1995, which was produced in this
6    litigation by Qualcomm and designated Confidential by Qualcomm.
7           37.    Attached as Exhibit 35 is a true and correct copy of Q2017MDL1_00014887, a
8    submission from Steven Altman to TIA, dated May 16, 1995, which was produced in this
9    litigation by Qualcomm and designated Confidential by Qualcomm.
10          38.    Attached as Exhibit 36 is a true and correct copy of Q2017MDL1_00014889, a
11   submission from Steven Altman to TIA, dated May 16, 1995, which was produced in this
12   litigation by Qualcomm and designated Confidential by Qualcomm.
13          39.    Attached as Exhibit 37 is a true and correct copy of Q2017MDL1_00013628, a
14   letter from Louis Lupin to TIA, dated September 17, 1998, which was produced in this litigation
15   by Qualcomm and designated Confidential by Qualcomm.
16          40.    Attached as Exhibit 38 is a true and correct copy of Q2017MDL1_00013626, a
17   letter from Louis Lupin to TIA, dated July 10, 1998, which was produced in this litigation by
18   Qualcomm and designated Confidential by Qualcomm.
19          41.    Attached as Exhibit 39 is a true and correct copy of Q2017MDL1_01473574, the
20   TIA Engineering Manual, Third Edition, dated July 1, 2002, which was produced in this
21   litigation by Qualcomm and designated Confidential by Qualcomm.
22          42.    Attached as Exhibit 40 is a true and correct copy of Q2017MDL1_00013644, a
23   submission by Sean English to TIA, dated April 1, 2004, which was produced in this litigation
24   by Qualcomm and designated Confidential by Qualcomm.
25          43.    Attached as Exhibit 41 is a true and correct copy of Q2017MDL1_00013656, a
26   submission by Sean English to TIA, dated April 1, 2004, which was produced in this litigation
27   by Qualcomm and designated Confidential by Qualcomm.
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1           44.    Attached as Exhibit 42 is a true and correct copy of Q2017MDL1_00013659, a
2    submission by Sean English to TIA, dated April 1, 2004, which was produced in this litigation
3    by Qualcomm and designated Confidential by Qualcomm.
4           45.    Attached as Exhibit 43 is a true and correct copy of Q2017MDL1_00013641, a
5    submission by Sean English to TIA, dated April 1, 2004, which was produced in this litigation
6    by Qualcomm and designated Confidential by Qualcomm.
7           46.    Attached as Exhibit 44 is a true and correct copy of Q2017MDL1_00013647, a
8    submission by Sean English to TIA, dated April 1, 2004, which was produced in this litigation
9    by Qualcomm and designated Confidential by Qualcomm.
10          47.    Attached as Exhibit 45 is a true and correct copy of Q2017MDL1_00013650, a
11   submission by Sean English to TIA, dated April 1, 2004, which was produced in this litigation
12   by Qualcomm and designated Confidential by Qualcomm.
13          48.    Attached as Exhibit 46 is a true and correct copy of Q2017MDL1_00013653, a
14   submission by Sean English to TIA, dated April 1, 2004, which was produced in this litigation
15   by Qualcomm and designated Confidential by Qualcomm.
16          49.    Attached as Exhibit 47 is a true and correct copy of QNDCAL01532503, the TIA
17   Engineering Manual, dated March 2005, which was produced in this litigation by Qualcomm and
18   designated Highly Confidential—Attorneys’ Eyes Only by Qualcomm.
19          50.    Attached as Exhibit 48 is a true and correct copy of Q2017MDL1_00013857, a
20   submission by Karyn Vuong to TIA, dated May 13, 2008, which was produced in this litigation
21   by Qualcomm and designated Confidential by Qualcomm.
22          51.    Attached as Exhibit 49 is a true and correct copy of Q2017MDL1_00014193, a
23   submission by Kayla Seignious to TIA, dated June 11, 2010, which was produced in this
24   litigation by Qualcomm and designated Confidential by Qualcomm.
25          52.    Attached as Exhibit 50 is a true and correct copy of Q2017MDL1_00014461, a
26   submission by Gaye Ostrander to TIA, dated December 10, 2012, which was produced in this
27   litigation by Qualcomm and designated Confidential by Qualcomm.
28          I declare under penalty of perjury under the laws of the United States of America that the

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1    foregoing is true and correct.
2           Executed this 30th day of August, 2018, in Washington, DC.
3
                                                        /s/ Jennifer Milici
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                                                      JENNIFER MILICI
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